            Case 2:18-cv-01456-APG-PAL Document 1 Filed 08/07/18 Page 1 of 5



 1 COGBURN LAW OFFICES
   Jamie S. Cogburn, Esq.
 2 Nevada Bar No. 8409
   jsc@cogburnlaw.com
 3 Erik W. Fox, Esq.
   Nevada Bar No. 8804
 4 efox@cogburnlaw.com
   2580 St. Rose Parkway, Suite 330
 5 Henderson, NV 89074
   Telephone: (702) 748-7777
 6 Facsimile: (702) 966-3880
   Attorneys for Plaintiff
 7

 8                                UNITED STATES DISTRICT COURT

 9                                       DISTRICT OF NEVADA

10      PHIL RAMOS, an individual,

11                                     Plaintiff,
                                                                       COMPLAINT
12               vs.

13      THUNDERBIRD COLLECTION
        SPECIALISTS, INC., an Arizona
14      Corporation,

15                                     Defendants.

16          Plaintiff, Phil Ramos (hereinafter “Plaintiff”), by and through his counsel of record,

17 Cogburn Law Offices, hereby complains against Defendants as follows:

18 I.       PRELIMINARY STATEMENT.

19          1.         This is an action for damages brought by an individual consumer for Defendant’s

20 violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter

21 “FDCPA”), which prohibits debt collectors from engaging in abusive, deceptive, and unfair

22 practices.

23          2.         This is also and action for damages brought by an individual under the Telephone

24 Consumer Protection Act, (“TCPA”), 47 U.S.C. § 227 et seq., and 28 U.S.C. §§1331, 1337.


                                                    Page 1 of 5
            Case 2:18-cv-01456-APG-PAL Document 1 Filed 08/07/18 Page 2 of 5



 1 II.      JURISDICTION.

 2          3.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), and 47 U.S.C. § 227

 3 et seq., and 28 U.S.C. §§1331, 1337. Venue is proper in this District Court, particularly its

 4 unofficial southern district, pursuant to 28 U.S.C. § 1391(b).

 5 III.     PARTIES.

 6          4.     Plaintiff is a natural person residing in Clark County, Nevada.

 7          5.     Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

 8          6.     Defendant Thunderbird Collection Specialists, (hereinafter “Thunderbird”) is a

 9 corporation engaged in the business of collecting debts by use of the mails and telephone, and

10 Defendant regularly attempts to collect debts alleged to be due another.

11          7.     Upon information and belief, Thunderbird is a corporation organized under laws of

12 Arizona and doing business in Nevada.

13          8.     Upon information and belief, Thunderbird is not licensed as a debt collector with

14 the Nevada Dept. of Business & Industry, Financial Institutions Division.

15          9.     Thunderbird is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6)

16 trying to collect a “debt” as defined by 15 U.S.C. §1692(a)(5).

17 IV.      GENERAL ALLEGATIONS

18          10.    Plaintiff, Phil Ramos, received an unsolicited call on his cellular phone in August

19 2017 from a representative from Thunderbird.

20          11.    The representative of Thunderbird did not, either verbally or in writing, provide

21 notice that the effort was an attempt to collect a debt, offer the opportunity to Ramos for validation

22 of the debt, or any of the other requirements required by 15 U.S.C. § 1692g.

23          12.    Ramos informed the Thunderbird representative that they had the wrong individual.

24


                                                Page 2 of 5
            Case 2:18-cv-01456-APG-PAL Document 1 Filed 08/07/18 Page 3 of 5



 1          13.      On November 28, 2017, a different representative from Thunderbird contacted

 2 Ramos, this time indicating he was a “Manager.”

 3          14.      The Manager became irate and abusive to Ramos when Ramos again indicated to

 4 Thunderbird they had the wrong person. The Manager persisted and demanded that Ramos

 5 provide his birth date. The Manager indicated the collection target was born in 1972, whereas

 6 Ramos indicated he was 18-years old in 1972.

 7          15.      The Manager of Thunderbird did not, either verbally or in writing, provide notice

 8 that the effort was an attempt to collect a debt, offer the opportunity to Ramos for validation of the

 9 debt, or any of the other requirements required by 15 U.S.C. § 1692g.

10 V.       CLAIMS FOR RELIEF

11                   FIRST CLAIM FOR RELIEF AGAINST THUNDERBIRD

12        (FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) 15 U.S.C. § 1692)

13          16.      The Plaintiff realleges and incorporates all preceding paragraphs above as if fully

14 set out herein.

15          17.      Defendant was negligent and/or willful is failing to provide written notice of the

16 debt and the opportunity to validate the debt as required by 15 U.S.C. § 1692g.

17          18.      Defendant was negligent and/or willful, rendering them liable for attempting to

18 collect an improper balance due, fees, interests and/or expenses not authorized or permitted by

19 law, and in violation of 1692f(1).

20          19.      The Defendant’s conduct was negligent or willful or both, rendering it liable for

21 failing to cease collection of an alleged debt, and not providing proper verification of the debt to

22 the prior to initiating a lawsuit, in violation of 1692g(b).

23

24


                                                 Page 3 of 5
            Case 2:18-cv-01456-APG-PAL Document 1 Filed 08/07/18 Page 4 of 5



 1          20.      As a result of the foregoing violations, the Defendant is liable for actual damages,

 2 including general damages and special damages in an amount to be proven at trial, but not less

 3 than up to $1,000 per violation, pursuant to 1692k(a)(1).

 4          21.      As a result of the foregoing violations, the Defendant is liable for actual damages,

 5 including general damages and special damages in an amount to be proven at trial, but not less

 6 than up to $1,000 per violation, pursuant to 1692k(a)(2)(a).

 7          22.      As a result of the foregoing violations, the Defendant is liable for costs and

 8 reasonable attorney fees pursuant to 1692k(a)(3).

 9          23.      Plaintiff hereby prays for actual damages under the FDCPA, and for statutory

10 damages as set forth above for each and every violation of the Fair Debt Collection Practices Act

11 proven at the trial of this case, and reasonable attorneys’ fees and costs thereunder.

12          24.      An actual controversy has arisen and now exists between the parties concerning

13 their respective rights and duties under the FDCPA. A judicial declaration that the Defendant’s

14 actions violated the FDCPA is necessary so that all parties may ascertain their rights and duties

15 under the law.

16                   SECOND CLAIM FOR RELIEF AGAINST THUNDERBIRD

17                (Telephone Consumer Protection Act of 1991 and 47 C.F.R. 16.1200 et seq.)

18          25.      The Plaintiff realleges and incorporates all preceding paragraphs above as if fully

19 set out herein.

20          26.      The TCPA makes it unlawful to initiate any telephone call to any residential or cell

21 phone telephone line using an artificial or prerecorded voice to deliver a message without the prior

22 express consent of the called party.

23          27.      Upon information and belief, violated the TCPA, 47 U.S.C. § 227 et seq., and 47

24 C.F.R. § 64.1200a(3).


                                                 Page 4 of 5
           Case 2:18-cv-01456-APG-PAL Document 1 Filed 08/07/18 Page 5 of 5



 1         28.     As a result, Plaintiff may recover statutory damages of $500 for each and every call

 2 in violation of the statute, and $1,500 for any willful and knowing violation of the statute.

 3         29.     The violations of the TCPA were either willful or negligent.

 4 VI.     PRAYER FOR RELIEF

 5         WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 6 Defendants, on all counts, for the following:

 7         1.      Declaratory judgment that Defendants’ conduct violated the FDCPA and TCPA;

 8         2.      Actual damages;

 9         3.      Statutory damages;

10         4.      Punitive damages;

11         5.      Costs and reasonable attorney’s fees; and

12         6.      For such other and further relief as may be just and proper.

13 VII.    JURY DEMAND

14         Pursuant to Fed. R. Civ. P. 38(b) and the Seventh Amendment to the United States

15 Constitution, Plaintiff hereby demands a jury trial.

16         Dated this 7th day of August, 2018.

17                                                 COGBURN LAW OFFICES

18
                                                   By: /s/Erik W. Fox
19                                                    Jamie S. Cogburn, Esq.
                                                      Nevada Bar No. 8409
20                                                    Erik W. Fox, Esq.
                                                      Nevada Bar No. 8804
21                                                    2580 St. Rose Parkway, Suite 330
                                                      Henderson, NV 89074
22                                                    Attorneys for Plaintiff

23

24


                                                Page 5 of 5
